       Case 1:13-cr-00018-DLH          Document 183        Filed 08/27/14     Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )      ORDER
                                              )
       vs.                                    )
                                              )
Robert Manuel Martell,                        )      Case No. 1:13-cr-018
                                              )
               Defendant.                     )

       Defendant is in custody of the Attorney General awaiting sentencing.        He is presently

housed at the McLean County Jail in Washburn, North Dakota. On August 26, 2014, he filed a

“Motion for Transport.” He seeks an order from the court directing the United States Marshal to

transport him from the McLean County Jail to the Burleigh County Courthouse in Bismarck, North

Dakota, by 9:00 a.m. on September 2, 2014, so that he can attend a State adopting hearing.

       The Government filed a response to defendant’s motion on August 26, 2014, objecting to

defendant’s request on the ground that he has not demonstrated that his presence at the adoption

hearing is required.

       The need for defendant’s presence at the adoption hearing is speculative at best. Further,

there likely are other ways in which his testimony could be presented if needed, including possibly

by video or telephone between the Burleigh County Courthouse and defendant’s place of

incarceration–the McLean County Jail. Defendant’s Motion for Transport (Docket No. 181) is

therefore DENIED.

       IT IS SO ORDERED.

       Dated this 27th day of August, 2014.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court
